EXHIBIT B-1
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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA


                                )
  DALE HARTKEMEYER (AKA SEIGEN) )
                                )
                   Plaintiff,   )
                                )
       v.                       )                               Case No. 2:20-cv-00336-JMS-MJD
                                )
  WILLIAM P. BARR, ET AL,       )
                                )
                   Defendants.  )
                                )

                                   DECLARATION OF RICK WINTER

  I, Rick Winter, do hereby declare and state as follows:

  1.      I am employed by the United States Department of Justice, Federal Bureau of Prisons

          (“BOP”), as Regional Counsel for the BOP’s North Central Region. I have held this

          position since October 2016. I have been employed by the BOP since 1994.

  2.      The statements I make hereinafter are made on the basis of my review of the official files

          and records of the BOP, my own personal knowledge, or on the basis of information

          acquired by me through the performance of my official duties.

  3.      The BOP, under the supervision of the United States Marshals Service, is responsible for

          implementing federal death sentences. See 18 U.S.C. § 3596(a); 28 C.F.R. Part 26. The

          BOP undertakes its role in accordance with the BOP Execution Protocol, see Ex. A-1,

          unless the Director or his designee determines that deviation is required. Wesley Ira Purkey

          is a condemned inmate whose execution is scheduled to occur on July 15, 2020, 1 at the



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    On July 2, 2020, in Purkey v. United States, No. 19-3318, the United States Court of Appeals for the Seventh
  Circuit temporarily stayed Mr. Purkey’s July 15, 2020, date of execution pending issuance of that court’s mandate in
  that case or as specified in any subsequent order of that court.


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        United States Penitentiary at Terre Haute, Indiana (USP Terre Haute).

  4.    I am aware that Plaintiff, Reverend Dale Hartkemeyer (AKA Seigen), has been designated

        by Mr. Purkey as Mr. Purkey’s spiritual advisor for purposes of the execution on July 15,

        2020. 28 C.F.R. § 26.4(c)(3)(i). Mr. Purkey has requested Rev. Hartkemeyer’s presence

        before, during, and after the execution itself. See Ex. A-2 (BOP letter to Mr. Purkey dated

        July 6, 2020).

  5.    I am aware that in the above referenced lawsuit, Rev. Hartkemeyer alleges that because of

        his age and health conditions and because of the number of BOP staff members, media,

        and visitors that are expected to be present at the execution, he would be subject to an

        unacceptably high risk of exposure to COVID-19 if he chooses to visit Mr. Purkey and

        attend his execution as compelled by his religious obligation.

  6.    However, despite the large number of individuals expected to be present at Mr. Purkey’s

        execution, Rev. Hartkemeyer will have very limited interactions with the vast majority of

        them. There are also numerous mitigation measures in place to avoid the spread of

        COVID-19 to Rev. Hartkemeyer.

  7.    The Terre Haute Federal Correction Complex (FCC Terre Haute) consists of USP Terre

        Haute, as well as a Federal Correctional Institution (FCI Terre Haute) and a prison camp.

        Mr. Purkey is housed at USP Terre Haute’s Special Confinement Unit (SCU). There have

        been zero cases of COVID-19 in the SCU, with two inmates having been tested. Staff at

        FCC Terre Haute are required to pass a temperature check and symptom screening daily

        before being allowed on the grounds of FCC Terre Haute. As of July 2, 2020, ninety two

        staff members at FCC Terre Haute have been tested for COVID-19. Of those, one staff

        member at the FCI previously tested positive but has recovered. At the USP, no staff

        members have tested positive for COVID-19. No FCC staff members are currently positive

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        for COVID-19. As for the inmate population, 264 USP inmates have completed tests. Four

        USP inmates are currently positive for COVID-19. Tests have been conducted on 141 FCI

        inmates; one FCI inmate is currently positive. See https://www.bop.gov/coronavirus/. All

        BOP staff are required to wear face masks. BOP has no plans to conduct COVID testing

        on individuals involved in the execution in advance of the execution. FCC Terre Haute

        will continue its screening procedures.

  8.    If Rev. Hartkemeyer chooses to visit Mr. Purkey in the days prior to the execution, that

        visitation will occur in the SCU. I understand that Rev. Hartkemeyer will need to drive

        approximately 60 miles from his home to FCC Terre Haute. Upon his arrival at FCC Terre

        Haute, he will be given the opportunity to utilize Personal Protective Equipment (“PPE”),

        in the form of a surgical face mask, gloves, a gown, and a plastic face shield. He will be

        escorted through security by BOP staff wearing face masks to a SCU visiting room only

        utilized by visitors of SCU inmates. The visiting room allows non-contact visitation—i.e.,

        the inmate is separated from his visitor by a partition—and is sanitized after each use. Once

        inside the USP, Rev. Hartkemeyer will also be given access to hand sanitizer and a

        restroom with a sink and hand soap.

  9.    During any such visit, Rev. Hartkemeyer will have no interaction with any other inmates

        housed at SCU or elsewhere. Additionally, Rev. Hartkemeyer will have no interaction

        with other visitors or members of the public at the SCU because regular visitation remains

        suspended due to COVID-19. If the other inmates scheduled for execution also have

        visitors, such visits will take place in separate areas.

  10.   If Rev. Hartkemeyer chooses to attend the execution, his interaction with BOP staff and

        other individuals will be limited. He will not have direct interaction with, nor be near, the

        vast majority of individuals expected to be present for Mr. Purkey’s execution. His only

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          possible interaction with members of the public may be with Mr. Purkey’s legal team, who,

          like other witnesses, will be provided PPE if they desire.

  11.     As to Plaintiff’s interaction with BOP employees, while the execution team consists of

          approximately 40 BOP staff members, the vast majority of them have assignments in areas

          other than the rooms in which Rev. Hartkemeyer will be located. Similarly, while

          approximately 100 BOP staff members and approximately 50 members of specialized

          teams will have various roles in the overall security of FCC Terre Haute, their duties will

          not cause them to have any interaction with Rev. Hartkemeyer. Rev. Hartkemeyer will

          only have interactions with those security officers in the specific areas in which he needs

          to be. Furthermore, Rev. Hartkeymeyer should have no interaction with the victim’s

          witnesses, media, or demonstrators, as those groups are separated from each other by

          design. See Ex. A-1 at 23, 26-27.

  12.     On the day of his execution, Mr. Purkey will be taken from the SCU to the execution

          facility, which is a separate facility from USP Terre Haute. Rev. Hartkemeyer will be

          given the opportunity to visit Mr. Purkey at the execution facility. In order to do so, he

          will again be met at a designated area and will be given the opportunity to utilize PPE in

          the form of a surgical face mask, gloves, a gown, and a plastic face shield. He will then be

          subject to a brief escort to the execution facility where he will be met by a BOP employee

          who will then escort him throughout the execution facility grounds. That BOP security

          escort will wear an N-95 face mask, a face shield, and gloves while in close proximity with

          Rev. Hartkemeyer. 2

  13.     At the execution facility, Rev. Hartkemeyer’s visit will again be non-contact. The


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   BOP cannot supply Rev. Hartkemeyer with an N-95 mask because in order for such a mask to be effective, Rev.
  Hartkemeyer must be clean shaven and undergo fit testing.


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